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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

GERMAN RUIZ,                                §
                                            §
                            Plaintiff,      §
                                            § Civil Action No. 3:18-CV-1544-D
VS.                                         §
                                            §
PENNYMAC LOAN SERVICES, LLC, §
                                            §
                            Defendant.      §

                               MEMORANDUM OPINION
                                   AND ORDER

       In this removed action alleging a violation of the regulations promulgated under the

Real Estate Settlement Procedures Act (“RESPA”), 12 U.S.C. § 2605(f)—specifically the

regulation governing loss mitigation applications, 12 C.F.R. § 1024.41—defendant

PennyMac Loan Services, LLC (“PennyMac”) moves pursuant to Fed. R. Civ. P. 12(b)(6)

to dismiss the claims of plaintiff German Ruiz (“Ruiz”). For the reasons that follow, the

court grants PennyMac’s motion and grants Ruiz leave to replead.

                                                I

       According to Ruiz’s state-court original petition and application for temporary

restraining order (“petition”), Ruiz took out a mortgage loan on his home in Grand Prairie,

Texas in 2009. PennyMac became the servicer of that loan. In 2018 Ruiz submitted a loan

modification application to PennyMac. Ruiz alleges that PennyMac did not respond to his

application within 30 days, as § 1024.41(c)(1) requires. Instead, PennyMac scheduled Ruiz’s

residence for foreclosure. Ruiz then filed the instant lawsuit in Texas state court, alleging
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a violation of § 1024.41 and a state-law theory of negligent undertaking. He sought a

temporary restraining order, actual damages, statutory damages, costs, and attorney’s fees.

The state court granted Ruiz’s temporary restraining order application. PennyMac later

removed the case to this court. Only Ruiz’s claims for damages, attorney’s fees, and costs

remain.

       PennyMac now moves pursuant to Rule 12(b)(6) to dismiss Ruiz’s petition.

PennyMac contends that Ruiz has failed to state a plausible claim under § 1024.41 because

he does not allege that this was his first loan modification application, as § 1024.41(i)

requires, and does not allege sufficient facts to show that he suffered actual damages as a

result of PennyMac’s violation. PennyMac moves to dismiss Ruiz’s claim for statutory

damages, contending that Ruiz does not allege a pattern of noncompliance with RESPA.

PennyMac also moves to dismiss Ruiz’s request for attorney’s fees on the ground that Ruiz

does not allege facts showing “how much he spent on an attorney and how Defendant’s

conduct caused him to spend money on an attorney.” Mot. Dismiss 10. Finally, PennyMac

posits that Ruiz’s state-law negligent undertaking claim fails as a matter of law. Ruiz

opposes the motion with respect to the § 1024.41 claim and concedes the motion as to the

negligent undertaking claim.

                                            II

       Under Rule 12(b)(6), the court evaluates the pleadings by “accept[ing] ‘all well-

pleaded facts as true, viewing them in the light most favorable to the plaintiff.’” In re

Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby

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Constr. Co. v. Dall. Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004)). To survive a

motion to dismiss, Ruiz must allege enough facts “to state a claim to relief that is plausible

on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id.; see also Twombly, 550 U.S. at 545 (“Factual allegations must be enough

to raise a right to relief above the speculative level[.]”). “[W]here the well-pleaded facts do

not permit the court to infer more than the mere possibility of misconduct, the complaint has

alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Iqbal, 556 U.S.

at 679 (quoting Rule 8(a)(2)). Furthermore, under Rule 8(a)(2), a pleading must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.”

Although “the pleading standard Rule 8 announces does not require ‘detailed factual

allegations,’” it demands more than “labels and conclusions.” Iqbal, 556 U.S. at 678

(quoting Twombly, 550 U.S. at 555). And “a formulaic recitation of the elements of a cause

of action will not do.” Id. (quoting Twombly, 550 U.S. at 555).




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                                             III

       PennyMac maintains that Ruiz has failed to state a claim for a violation of RESPA and

its implementing regulations.

                                             A

       12 C.F.R. § 1024.41—entitled “Loss mitigation procedures”—regulates loss

mitigation procedures provided by loan servicers. See 12 C.F.R. § 1024.41. Section 1024.41

does not require that a servicer “provide any borrower with any specific loss mitigation

option.” Id. § 1024.41(a). Instead, it specifies required procedures, including deadlines for

reviewing timely loss mitigation applications and requirements for notifying borrowers in

writing, within 30 days of receipt of a complete loss mitigation application, which loss

mitigation options, if any, it will offer the borrower, or the specific reasons for denying a

complete loss mitigation application. Id. § 1024.41(c)(1)(ii), (d). A loan servicer must

comply with § 1024.41 “unless the servicer has previously complied with the requirements

of this section for a complete loss mitigation application submitted by the borrower and the

borrower has been delinquent at all times since submitting the prior complete application.”

Id. § 1024.41(i); see Wentzell v. JPMorgan Chase Bank, N.A., 627 Fed. Appx. 314, 318 n.4

(5th Cir. 2015) (per curiam); Allen v. Wells Fargo Bank, N.A., 2017 WL 3421067, at *4

(N.D. Tex. Aug. 9, 2017) (Fitzwater, J.).1


       1
        Section 1024.41(i) was amended effective October 2017. See Amendments to the
2013 Mortgage Rules Under the Real Estate Settlement Procedures Act (Regulation X) and
the Truth in Lending Act (Regulation Z), 81 Fed. Reg. 72,373, 72,375 (Oct. 19, 2016) (to be
codified at 12 C.F.R. § 1024.41). Previously, there was no exception for borrowers who

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       Section 1024.41 is privately enforceable under § 6(f) of RESPA, 12 U.S.C. § 2605(f).

See 12 C.F.R. § 1024.41(a). To state a claim under § 6(f), a plaintiff must show that he

suffered actual damages as a result of the defendant’s violation. See Law v. Ocwen Loan

Servicing, L.L.C., 587 Fed. Appx. 790, 795 (5th Cir. 2014) (per curiam). A prevailing

plaintiff is entitled to recover actual damages and reasonable attorney’s fees and costs. See

12 U.S.C. § 2605(f)(1)(A), (f)(3). A plaintiff who proves a “pattern or practice of

noncompliance” with RESPA may recover statutory damages of up to $2,000. Id. §

2605(f)(1)(B). The plaintiff must allege such a pattern or practice of misconduct for his

statutory damages claim to survive a motion to dismiss. See Allen, 2017 WL 3421067, at *4.

                                                B

       Ruiz does not allege any facts that enable the court to draw the reasonable inference

that the loan modification application he submitted to PennyMac was his first complete loss

mitigation application. Nor does he adequately plead that he became current on his payments

after PennyMac considered any previous complete loss mitigation application. Ruiz must

allege facts that plausibly plead a claim under one of these alternatives in order to state a

claim for a violation of § 1024.41. See Solis v. U.S. Bank, N.A., 726 Fed. Appx. 221, 223

(5th Cir. 2018) (per curiam) (“The district court did not err when it held that the [plaintiffs]

failed to allege that this application was their first complete loss mitigation application. . . .


became current on their payments after submitting a complete loss mitigation application.
The pre-amended regulation provided: “[a] servicer is only required to comply with the
requirements of this section for a single complete loss mitigation application for a borrower’s
mortgage loan account.” 12 C.F.R. § 1024.41(i) (2016).

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Thus, [plaintiffs] again failed to plead the prerequisites of a plausible claim.”);2 see also

Rachal v. Select Portfolio Servicing, Inc., 2018 WL 3193835, at *5 (E.D. Tex. June 5, 2018),

rec. adopted, 2018 WL 3156145, at *1 (E.D. Tex. June 28, 2018); Higginbotham v. IndyMac

Bank, F.S.B., 2017 WL 2701939, at *4 (E.D. Tex. June 1, 2017), rec. adopted, 2017 WL

2691241, at *1 (E.D. Tex. June 22, 2017); Jones v. Select Portfolio Servicing, Inc., 2016 WL

6581279, at *7 (N.D. Tex. Oct. 12, 2016) (Horan, J.), rec. adopted, 2016 WL 6566538, at

*1 (N.D. Tex. Nov. 3, 2016) (Kinkeade, J.). This ground alone merits dismissal of Ruiz’s

claim.3

          The court therefore need not reach the question whether Ruiz has adequately pleaded

actual damages.4 For the purposes of repleading, however, Ruiz should bear in mind that he

must plead sufficient facts for the court to draw the reasonable inference that he suffered

damages resulting from PennyMac’s violation of § 1024.41. See Law, 587 Fed. Appx. at

795. Even a small amount of damages will suffice if the harm is traceable to the alleged


          2
         Although the loss mitigation application at issue in Solis was submitted in 2014, see
Solis v. U.S. Bank, N.A., 2017 WL 4479957, at *1 (S.D. Tex. June 23, 2017), the Fifth Circuit
nonetheless applied § 1024.41(i) as currently amended in concluding that the district court
properly dismissed the case, see Solis, 726 Fed. Appx. at 223.
          3
        At least one district court in another circuit disagrees that § 1024.41(i) imposes an
affirmative pleading requirement. See Amarchand v. CitiMortgage, Inc., 2016 WL 1031303,
at *2 (M.D. Fla. Mar. 9, 2016). Amarchand has since been distinguished, albeit in the
context of a motion for summary judgment, by this court. See Germain v. U.S. Bank, N.A.,
2018 WL 1517860, at *5-6 (N.D. Tex. Mar. 28, 2018) (Lynn, C.J.).
          4
       Ruiz alleges in his petition that he “has expended significant time trying to obtain an
answer regarding the loan modification approval and estimates he has missed work and/or
incurred expenses in the approximate amount of $400.00.” Pet. ¶ 15.

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RESPA violation. Courts have interpreted “actual damages” under § 6(f) to include, inter

alia:

               (1) out-of-pocket expenses incurred dealing with the RESPA
               violation including expenses for preparing, photocopying and
               obtaining certified copies of correspondence, (2) lost time and
               inconvenience, such as time spent away from employment while
               preparing correspondence to the loan servicer, to the extent it
               resulted in actual pecuniary loss[,] (3) late fees and (4) denial of
               credit or denial of access to full amount of credit line.

McLean v. GMAC Mortg. Co., 595 F.Supp.2d 1360, 1366 (S.D. Fla. 2009) (collecting cases),

aff’d, 398 Fed. Appx. 467 (11th Cir. 2010). But causation is key. Any expenses Ruiz

incurred prior to PennyMac’s alleged violation—such as those involved in preparing and

sending the loss mitigation application, or in following up on the application before the

regulatory deadline—do not suffice, because it cannot be said that they were caused by

PennyMac’s noncompliance. See Smith v. JPMorgan Chase Bank, N.A., 2018 WL 879276,

at *3 (N.D. Tex. Jan. 23, 2018) (Toliver, J.), rec. adopted, 2018 WL 837762, at *1 (N.D.

Tex. Feb. 13, 2018) (Kinkeade, J.); Meeks v. Wells Fargo Bank, N.A., 2018 WL 472821, at

*2 (N.D. Tex. Jan. 18, 2018) (McBryde, J.). A well-pleaded claim under § 6(f) should

therefore allege facts showing not only that the plaintiff suffered damages, but also that those

damages were incurred “as a result of the failure” of the lender to comply with the statute or

regulations. See 12 U.S.C. § 2605(f)(1)(A).

        As for statutory damages, Ruiz does not allege sufficient facts for the court to draw

the reasonable inference that PennyMac has engaged in a pattern or practice of RESPA

violations. His claim for statutory damages must therefore be dismissed. See Allen, 2017

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WL 3421067, at *4 (“[T]he Allens have not alleged a pattern or practice of misconduct, as

required for statutory damages[.]”).

       Citing Baez v. Specialized Loan Servicing, LLC, 709 Fed. Appx. 979 (11th Cir. 2017),

PennyMac maintains that, to recover such fees, Ruiz must allege a causal connection between

his incurred attorney’s fees and PennyMac’s regulatory violation. The court disagrees. Baez

dealt with the question whether attorney’s fees could satisfy the “actual damages” predicate

for bringing a § 6(f) claim. See id. at 983-84. And the Fifth Circuit has already held

otherwise. See Whittier v. Ocwen Loan Servicing, L.L.C., 594 Fed. Appx. 833, 836-37 (5th

Cir. 2014) (per curiam). The Whittier panel reasoned that, because § 6(f) provides for awards

of attorney’s fees “in addition to” actual and statutory damages, attorney’s fees are not

themselves actual damages. See id. (emphasis omitted). Fees and damages are separate

awards under the statute, and should be defined and analyzed separately. When considered

in this way, it becomes apparent that there is no causation requirement for attorney’s fees:

the plain text of § 6(f) states that attorney’s fees need only be “incurred in connection with

[the RESPA] action,” whereas actual damages must “result [from] the failure” of the

defendant to comply. See 12 U.S.C. § 2605(f)(1)(A), (f)(3).

       Additionally, the purpose of perhaps most fee shifting provisions is not to compensate

the plaintiff; it is to incentivize attorneys to take on otherwise low-value cases so that

remedial federal laws will be privately enforced. See Alyeska Pipeline Serv. Co. v.

Wilderness Soc’y, 421 U.S. 240, 263 (1975) (“[U]nder some, if not most, of the statutes

providing for the allowance of reasonable fees, Congress has opted to rely heavily on private

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enforcement to implement public policy and to allow counsel fees so as to encourage private

litigation.”); see also, e.g., Hensley v. Eckerhart, 461 U.S. 424, 429 (1983) (holding that

purpose of civil rights fee shifting statute is “to ensure effective access to the judicial process

for persons with civil rights grievances” (internal quotation marks omitted) (quoting H.R.

REP. NO. 94-1558, at 8 (1976))); McGowan v. King, Inc., 569 F.2d 845, 848, 850 (5th Cir.

1978) (observing that Truth in Lending Act, which provides for award of attorney’s fees to

prevailing plaintiff, was intended to be enforced by individuals acting as “private attorneys

general”). Requiring that a plaintiff’s attorney’s fees be traceable to the defendant’s RESPA

violation could have the effect of reducing fee awards to such an extent that plaintiffs could

not afford to act as private attorneys general.

       Nor must Ruiz affirmatively plead, at this stage of the litigation, the amount or nature

of his attorney’s fees. The procedure for requesting attorney’s fees is governed by Rule

54(d). Attorney’s fees are typically requested via motion filed within 14 days after the entry

of judgment. See Rule 54(d)(2)(A), (B)(i); see also, e.g., Hancock v. Chi. Title Ins. Co., 2013

WL 2391500, at *4-13 (N.D. Tex. June 3, 2013) (Fitzwater, C.J.) (evaluating motion for

attorney’s fees and evidence in support after entry of judgment). It is in this motion that the

applicant must “state the amount sought or provide a fair estimate of it.”                   Rule

54(d)(2)(B)(iii). Ruiz is therefore not required to plausibly plead the amount of his attorney’s

fees at this juncture to state a claim on which relief can be granted. Even so, because he has

not plausibly pleaded a violation of § 1024.41, he has not stated a claim on which relief can

be granted.

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                                              IV

       Ruiz originally asserted a negligent undertaking claim under Texas law. In response

to the present motion, Ruiz concedes that he “will amend his complaint to dismiss this claim

against [PennyMac].” P. Resp. 5. Accordingly, the court grants PennyMac’s motion to

dismiss this claim.

                                               V

       Although the court is dismissing Ruiz’s claims, it will grant him leave to replead. It

is the practice of this court to afford litigants “at least one opportunity to cure pleading

deficiencies before dismissing a case, unless it is clear that the defects are incurable.” See

In re Am. Airlines, Inc., Privacy Litig., 370 F.Supp.2d 552, 567-68 (N.D. Tex. 2005)

(Fitzwater, J.) (quoting Great Plains Trust Co. v. Morgan Stanley Dean Witter & Co., 313

F.3d 305, 329 (5th Cir. 2002)). The reasons for doing so are particularly compelling where,

as here, the plaintiff originally filed suit in state court and has not yet amended his petition

to conform to the federal pleading standards. See Baxter v. CitiMortgage, Inc., 2014 WL

3407734, at *3 (N.D. Tex. July 14, 2014) (Fitzwater, C.J.). There is no indication that the

defects in Ruiz’s petition are incurable. Ruiz maintains in his response that the application

he submitted to PennyMac was his first loss mitigation application. And to the extent his

allegation regarding actual damages may be ambiguous as to whether the damages resulted

from PennyMac’s violation, Ruiz can clarify this by pleading facts showing when and why

those expenses were incurred. The court therefore grants Ruiz a period of 28 days from the

date this memorandum opinion and order is filed to file a first amended complaint.

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PennyMac may move anew to dismiss the first amended complaint if it has grounds to do so.

                                        *     *      *

       For the reasons stated, the court grants PennyMac’s motion to dismiss and grants Ruiz

leave to replead.

       SO ORDERED.

       October 3, 2018.



                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            SENIOR JUDGE




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